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1                      IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
2                                EASTERN DIVISION
3
4    NATHSON E. FIELDS,            )
                                   )
5                      Plaintiff, )             Docket No. 10 C 1168
                                   )
6                 vs.              )
                                   )
7    CITY OF CHICAGO, et al.,      )            Chicago, Illinois
                                   )            October 20, 2010
8                      Defendants. )            10:00 a.m.
9
                            TRANSCRIPT OF PROCEEDINGS
10                  BEFORE THE HONORABLE MATTHEW F. KENNELLY
11
     APPEARANCES:
12
13   For the Plaintiff:           LAW OFFICES OF H. CANDACE GORMAN
                                       BY: MS. H. CANDACE GORMAN
14                                     220 South Halsted Street
                                       Suite 200
15                                     Chicago, Illinois 60661
16
                                  LAW OFFICE OF MOLLY ARMOUR
17                                     BY: MS. MOLLY ARMOUR
                                       4050 North Lincoln Avenue
18                                     Chicago, Illinois 60018
19
20   For the Defendant:           DYKEMA GOSSETT PLLC
                                       BY: MR. DANIEL M. NOLAND
21                                     10 South Wacker Drive
                                       Suite 2300
22                                     Chicago, Illinois 60606
23
                                  COOK COUNTY STATE'S ATTORNEY
24                                     BY: MR. STEPHEN L. GARCIA
                                       500 Richard J. Daley Center
25                                     Chicago, Illinois
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1                  LAURA M. BRENNAN - Official Court Reporter
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1            (The following proceedings were had in open court:)
2                THE CLERK: 10 C 1168, Fields v. City.
3                MS. GORMAN: Good morning, your Honor; Candace Gorman
4    for Nathson Fields.
5                MS. ARMOUR: Molly Armour for Nathson Fields as well.
6                MR. NOLAND: Good morning, your Honor; Dan Noland for
7    the police officer defendants and the City and Mayor Daley.
8                MR. GARCIA: Good morning, your Honor; Stephen Garcia
9    for State's Attorneys Wharrie and Kelly.
10               THE COURT: You know, I didn't go back and compare,
11   but I assumed that collectively the three motion motions to
12   dismiss cover everybody.
13               Is that right?
14               MR. NOLAND: They cover everybody.
15               THE COURT: All right. So do you want to --
16               The two questions I've got for you all are: How long
17   do you want to respond, and do you want to do it all in one,
18   or do you want to do them separately?
19               MS. GORMAN: Actually, what I would like to do, your
20   Honor, is have one week to file a third amended complaint
21   because I think there's a couple issues I'd like to --
22               THE COURT: You might be able to clean up.
23               MS. GORMAN: -- clean up.
24               THE COURT: Okay. Does anybody have a problem with
25   that?
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1                What we're going to do this time, though, is that
2    rather than having people refile stuff, I will set it for a
3    status maybe about a week after Ms. Gorman and Ms. Armour file
4    the amended complaint, and then you will tell me whether you
5    think it still covers everything or not. If there's arguments
6    that get X'd out, I will just X them out and kind of take it
7    from there so that people don't have to, you know, reinvent
8    wheels. So plaintiff has until the 27th of October to file a
9    third amended complaint.
10               And why don't you come in on the --
11               Let me think this through. I'm going to make it a
12   little bit more than a week actually. Why don't you come in
13   on the 10th. I'm going to be out of town a few days. So does
14   the 10th of November at 9:30 work okay?
15               MR. GARCIA: Yes.
16               MR. NOLAND: Yes, your Honor.
17               MS. GORMAN: Yes.
18               THE COURT: So the motions to dismiss are entered and
19   continued to that date.
20               MS. GORMAN: Thank you.
21               MS. ARMOUR: Thank you.
22               MR. GARCIA: What time, Judge?
23               THE COURT: 9:30.
24               MR. NOLAND: Thank you, your Honor.
25               MR. GARCIA: Thank you.
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1                MS. GORMAN: Thank you, your Honor.
2         (Which were all the proceedings had in the above-entitled
3    cause on the day and date aforesaid.)
4
5                               C E R T I F I C A T E
6
7              I hereby certify that the foregoing is a true and
8    correct transcript of the above-entitled matter.
9
10
11   /s/ Laura M. Brennan                                November 1, 2017
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     Laura M. Brennan
15   Official Court Reporter                                       Date
     Northern District of Illinois
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